                         UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF ALASKA




UNITED STATES OF AMERICA                                  3:08-cr-098-JDR

                     Plaintiff,                           ORDER
               vs.                                      ADDRESSING
                                                     AMENDED JUDGMENT
JAMES WALUNGA,
                                                         (Docket No. 155)
                     Defendant.



               Defendant James Walunga has filed a “Response to First Amended

Judgment” requesting certain modifications to the Amended Judgment entered

September 24, 2010.1 Upon due consideration of defendant’s response, the court

intends to take the following action set forth below in response to the defendant’s

pleading.



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          Response to First Amended Judgment filed at Docket 155.
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                                                         I.

                  Walunga argues that there is no basis for his probation to prohibit the

use of controlled substances. The original judgment required the defendant to

submit to one drug test within fifteen (15) days of placement on probation and at

least two periodic drug tests thereafter, as determined by the court. Walunga was

subjected to one drug test by the probation office while on probation. The drug test

was negative. There appears to be no need at this time for further periodic drug

tests (excluding alcohol screening). Therefore, the court will amend the latest

judgment to suspend drug testing as a condition of probation for the reason that the

court determines that the defendant poses a low risk of future substance abuse

(again, excluding alcohol abuse).

                                                         II.

                  The defendant objects to a portion of the language in the Amended

Judgment addressing the first special condition of supervised release wherein the

defendant is ordered “to participate in, and successfully complete, at least ninety

days and no more than nine months in the Akeela House residential substance

abuse treatment program.” Walunga objects to the underlined language. That

language, however, was added because supervised release ends in nine months

whereas any substance abuse treatment program at the Akeela House could

continue after nine months. Walunga notes in his pleading that it was specifically



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represented at sentencing that he would not be required to pay for the ninety days.

That is a correct statement and the United States shall pay for up to ninety days but

no more than ninety days should Walunga continue in the treatment program. Any

additional costs for the program after the ninety days would be up to Walunga based

up a sliding scale imposed by the Akeela House.

                  The final sentence of paragraph 2 under Special conditions of

Supervised Release in the Amended Judgment correctly contains the word “may”

in the statement that “[f]ailure to adhere to any and all program conditions may result

in revocation of supervised release.” For these reasons the objections to the

amended judgment discussed under point 2 on page 2 of the Response to First

Amended Judgment are not well taken and are hereby denied.

                  The United States shall have to and including September 30, 2010, to

file any response to this order or Walunga’s Response to First Amended Judgment.

Thereafter, the court shall direct the filing of a second amended judgment. The

Clerk is hereby directed to unseal Docket 155.

                  DATED this 28th day of September, 2010, at Anchorage, Alaska.



                                                       /s/ John D. Roberts
                                                      JOHN D. ROBERTS
                                                      United States Magistrate Judge




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